Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 1 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 2 of 16




                                             325
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 3 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 4 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 5 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 6 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 7 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 8 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 9 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 10 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 11 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 12 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 13 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 14 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 15 of 16
Case 8:23-mj-00325-CFH Document 1 Filed 06/07/23 Page 16 of 16
